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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )                 CRIMINAL NO. 19-CR-3113 JB
                                   )
      vs.                          )
                                   )
ROBERT PADILLA, a.k.a “Fat Head,” )
ROSE ANN ROMERO,                   )
JOHNATHAN VIGIL, a.k.a “Lil John,” )
ROBERT HOCKMAN, a.k.a “Tony,”      )
MARCOS RUIZ, a.k.a “Mark,”         )
LUIS SANCHEZ, a.k.a “Payaso,”      )
ASHLEY ROMERO,                     )
TOMAS SANCHEZ, a.k.a “T.J.,”       )
AMANDA AILVA,                      )
SERGIO VALDEZ,                     )
GENEVIVE ATENCIO, and              )
JANAYA ATENCIO,                    )
                                   )
          Defendants.              )


               MOTION TO ADOPT STIPULATED SCHEDULING ORDER

       The parties request that the Court adopt the Stipulated Scheduling Order and state the

following:

       1.      This case has been declared complex by this court.

       2.      The parties have conferred and stipulated to the imposition of certain deadlines.

       3.      The Proposed Scheduling Order setting forth the stipulated deadlines has been

submitted to the Court for approval.
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                                                 Respectfully submitted by:

                                                 JOHN C. ANDERSON
                                                 United States Attorney

                                                 Filed Electronically 3/24/2020
                                                 ELAINE Y. RAMIREZ
                                                 Assistant U.S. Attorney

I hereby certify that the foregoing
Pleading has been filed electronically
on March 24, 2020, which caused it to
be served on counsel of record.

Signed 3/24/2020
ELAINE Y. RAMIREZ
Assistant U.S. Attorney
